             Case 2:21-cv-00199-TOR                  ECF No. 23          filed 12/07/21        PageID.92 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for thH_
                                                     Eastern District of Washington


81,7('67$7(62)$0(5,&$ ,                                           )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. &9725
                                                                     )
                                                                     )
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                      ,
                            Defendant

                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other:
u              The Judgment in a Civil Action at ECF No. 18 is incorporated herein by reference.

            The parties' Stipulated Motion Relative Priority of Liens Against Subject Property Between United States,
            Wells Fargo Home Mortgage, Inc., USAA Federal Savings Bank, and Okanogan County Assessor (ECF No.
            21) is GRANTED and Approved.
This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge              THOMAS O. RICE .




Date: December 7, 2021                                                      CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                              % )RUWHQEHUU\
                                                                                           %\ Deputy Clerk

                                                                              % )RUWHQEHUU\
